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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI

JANE DOE 7,                    )
                               )
           Plaintiff,          )                      Cause No: 1:20CV000172-JAR
                               )
vs.                            )
                               )
SOUTHEAST MISSOURI STATE       )
UNIVERSITY and SEMO DEPARTMENT )
OF PUBLIC SAFETY OFFICER       )
JYOTHI DIRNBERGER              )
                               )
           Defendants.         )
        PLAINTIFF’S MOTION FOR CONTINUED SEALING OF DOCUMENTS


               Plaintiff, Jane Doe 7 files this Memorandum in support of her request to keep

documents in this case sealed. Certain documents in this matter were filed under seal in order to

protect the Plaintiff’s identity and personal information.

       On August 12, 2020, Plaintiff filed a Motion to proceed in this matter under a pseudo

name. Doc 1-3. Plaintiff sought a protective order prohibiting the parties from revealing

Plaintiff’s identity or identifying information. Doc 1-3. On August 14, 2020, this Court granted

Plaintiff’s motion and entered the protective order that Plaintiff requested. Doc 4.

       Pursuant to that order, Plaintiff has been permitted to file certain documents under seal.

This matter concluded and Plaintiff makes a request to continue to protect Plaintiff’s identity and

personal information with an order from the court continuing to seal these documents.

       Federal Rule of Civil Procedure 26(c) states that “the court may, for good cause, issue an

order to protect a party or person from annoyance, embarrassment, oppression, or undue burden

or expense.” There is also judicially espoused authority granting judges this discretion if there is
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good cause. In Doe v. City of Chicago, 360 F.2d 667, 669 (7th Cir 2004), the Seventh Circuit

explained that although judicial proceedings generally are supposed to be open, the presumption

of openness can be rebutted for good cause shown.

        There is good cause to allow Plaintiff to have continuing protection. This is because

Plaintiff is a sexual assault victim and revealing her identity and personal information has the

potential to embarrass or humiliate the Plaintiff. Allowing such information to be public would

oppress and embarrass the Plaintiff in this matter and potential future Plaintiffs.

        WHEREFORE, Plaintiff requests that this Court continue to seal sensitive documents in

this matter indefinitely.

                                               Respectfully submitted,

                                              By: /s/ Nicole E. Gorovsky
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 10, 2022, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to the following attorneys of record:

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